     Case 2:90-cv-00520-KJM-SCR           Document 8604         Filed 04/16/25      Page 1 of 5


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11        RALPH COLEMAN, et al.,                          No. 2:90-cv-0520 KJM SCR P
12                          Plaintiffs,
13                    v.                                  ORDER
14        GAVIN NEWSOM, et al.,
15                         Defendants.
16

17

18             The Receiver-nominee appointed by the court on April 2, 2025, ECF No. 8589, has
19     submitted her invoice for services rendered between February 23, 2025 and March 31, 2025. A
20     copy of the invoice is attached.
21             The court informed the parties at an in camera hearing on February 25, 2025 that the
22     person the court intended to appoint as Receiver-nominee would meet with the parties in order to
23     introduce herself and otherwise perform limited preliminary work in advance of her appointment
24     and that the court intended to split the costs associated with that work between the parties.
25     Although plaintiffs’ counsel signaled a possible objection at hearing, they have filed no formal
26     objections. Defendants also have filed no objections.
27     /////
28
                                                          1
     Case 2:90-cv-00520-KJM-SCR           Document 8604        Filed 04/16/25      Page 2 of 5


 1             Accordingly, good cause appearing, IT IS HEREBY ORDERED that plaintiffs and
 2     defendants shall each pay to Colette S. Peters at the confidential address they have on record for
 3     her the amount of $15,519.55, for a total of $31,039.10, as payment of the statement attached to
 4     this order.
 5     DATED: April 15, 2025.
 6

 7
                                                   SENIOR UNITED STATES DISTRICT JUDGE
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         2
   Case 2:90-cv-00520-KJM-SCR           Document 8604           Filed 04/16/25    Page 3 of 5


Invoice

Bill From:
Colette S. Peters
CSP.ColemanReceiver@icloud.com




Invoice Number: 001
Invoice Date: April 5, 2025


                                                       Hours      Rate per
                  Description                                                Amount      Date
                                                       Worked      Hour
Reviewing documents, phone calls, meetings                                             February
                                                   3             $165.00     $495.00
with Judge, and document review                                                        23
                                                                                       February
Phone call with the Judge                          0.5           $165.00     $82.50
                                                                                       24
Document review, call with the Judge, setting up                                       February
                                                 3               $165.00     $495.00
meetings                                                                               25
                                                                                       February
Phone calls, scheduling meetings                   5             $165.00     $825.00
                                                                                       26
Meeting prep, scheduling calls, file review, and                                       February
                                                   11.5          $165.00     $1,897.50
notes                                                                                  27
Phone call and email update to Judge, prep,                                            February
                                                   4             $165.00     $660.00
scheduling meetings                                                                    28
Phone calls, emails, and document review           1             $165.00     $165.00 March 3
Document review, phone calls, emails, and prep     1             $165.00     $165.00 March 4
Document review, emails, and travel planning       2             $165.00     $330.00 March 5
Prep for meeting with Judge, phone calls, and
                                                   7             $165.00     $1,155.00 March 6
travel planning
Travel, phone calls, emails, document review       8             $165.00     $990.00   March 10
Meeting with Secretary, Undersecretary, Dr.
                                                   6.5           $165.00     $1,072.50 March 11
Mehta, and tour of CHCF
Travel, meeting with Kathleen Allison, follow-
                                                   2.5           $165.00     $412.50   March 11
up
  Case 2:90-cv-00520-KJM-SCR            Document 8604           Filed 04/16/25    Page 4 of 5



                                                       Hours      Rate per
                  Description                                                Amount      Date
                                                       Worked      Hour
Travel, meeting with Clark Kelso, Martin
                                                   11.75         $165.00     $1,931.25 March 12
Hoshino, David Sapp, and Sarah Brattin.
Travel to SVSP, meet with Plaintiff Mr.
                                                   11.5          $165.00     $1,897.50 March 13
Cockcroft, plaintiffs counsel, phone calls
Review notes, prep for meetings, send emails       1.5           $165.00     $247.50   March 13
Travel, meet with Plaintiffs counsel, the Judge,
                                                   14.5          $165.00     $2,392.50 March 14
notes review
Organizational chart, emails, calls                7             $165.00     $1,155.00 March 15
Review emails, more work on position
                                                   4             $165.00     $660.00   March 17
descriptions
Call with Judge, notes review, document review     1             $165.00     $165.00   March 18

Reviewing documents phone call with Judge       5.5              $165.00     $907.50   March 19
Reviewing documents, scheduling appointments,
                                                3.5              $165.00     $577.50   March 20
Teams meeting
Phone calls, emails, document review            4.5              $165.00     $742.50   March 21
Organizing notes, reading documents,
                                                4                $165.00     $660.00   March 23
responding to emails
Phone calls, meeting prep, meetings             5                $165.00     $825.00   March 24
Phone calls, document review, prep for meetings 5.5              $165.00     $907.50   March 25

Phone calls, organizing files, document review,
                                                   6             $165.00     $990.00   March 26
progress update
Emails, phone calls, communication with HR
                                                   8.5           $165.00     $1,402.50 March 27
and IT
Onboarding plan development, communications
                                                   6             $165.00     $990.00   March 28
with HR and IT, phone calls
Emails, phone calls, HR, document review           6             $165.00     $990.00   March 31

Emails, prep for court proceeding, follow-up,
                                                   9             $165.00     $2,392.50 April 1
phone calls


Total Hours Worked: 169.75 hours
Rate per Hour: $165.00
Total Amount for Services: $28,008.75
   Case 2:90-cv-00520-KJM-SCR        Document 8604   Filed 04/16/25   Page 5 of 5


Expenses:

             Description              Amount
Budget Car Rental                    $306.90
Alaska Airline Flight                $616.60
Hotel (Federal Government Rate)      $1,473.00
Parking (Sacramento & San Francisco) $84.00
Gas (3 receipts)                     $135.88
Per Diem (March 10-14)               $340.00
Uber Ride (PDX-Home)                 $71.97

Subtotal for Expenses: $3,030.35

Receipts available upon request.



Total Amount Due (Services + Expenses): $31,039.10



Payment Instructions:
Please make payment to:
Colette S. Peters
